                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                         Case No. 20-44110

HENRY L. GORDON,                                               Chapter 13

               Debtor.                                         Judge Thomas J. Tucker

______________________________________/

                          ORDER GRANTING DEBTOR’S MOTION
                          TO IMPOSE STAY, WITH CONDITIONS

         This case was scheduled for a hearing to be held on March 26, 2020, on the motion by the
Debtor to impose the stay (Docket # 5). The Court has reviewed the motion and related papers,
and other parts of the record in this case, including the Debtor’s proposed plan and the Debtor’s
schedules. The Court notes that the Chapter 13 Trustee does not object to the motion, and that
Debtor and the Trustee have agreed on certain conditions to be imposed, as part of any order
granting the motion. No creditor has filed an objection. Subject to the right of any creditor to
object after the entry of this Order, stated below, the Court finds that a hearing on the motion is
not necessary; that a hearing should not occur due to the temporary closing of this Court’s
facilities in Detroit that became effective on March 25, 2020, due to problems related to the
ongoing Coronavirus pandemic; that the statutory presumption of a bad faith filing in this case is
rebutted by clear and convincing evidence; and that the Debtor filed the current case in good faith
as to all creditors.

         Accordingly,

         IT IS ORDERED that: (1) the motion is granted; and (2) the stay under 11 U.S.C.
§ 362(a) is imposed as to all creditors under 11 U.S.C. § 362(c)(4), and will continue in effect as
to all creditors, unless and until otherwise ordered, or until and to the extent the stay is modified,
conditioned, or terminated under a provision of the Bankruptcy Code other than 11 U.S.C.
§ 362(c)(4).

         IT IS FURTHER ORDERED that the following conditions are imposed under 11 U.S.C.
§ 362(c)(4)(B): (1) Debtor must be 100% current with plan payments, on the Trustee records or
with proof of payments provided to the Trustee on May 21, 2020, which is one week before the
confirmation hearing; and Debtor must be 100% current with plan payments, on the Trustee
records or with proof of payments provided to the Trustee one week before any subsequent or
adjourned confirmation hearing date. If Debtor fails to comply with any of these conditions, the
Trustee may file an affidavit so attesting, and may submit an order of dismissal to the Court, and
in that event this case will be dismissed without any further notice or hearing. (2) Debtor counsel
must immediately serve a copy of this Order on all creditors, and then promptly file a proof of



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such service. The imposition of the automatic stay as provided in this Order is not effective
until such proof of service is filed. Because no hearing was held on March 26, 2020, any
creditor may file and serve, within 21 days after service of this Order, an objection to the motion
to extend the stay and/or to this Order. If such an objection is timely filed, the Court will
schedule a hearing and determine whether to vacate or modify this Order based on the merits of
the objection(s).



Signed on March 26, 2020




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